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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                   Criminal No. 03-569 WJ

MARVIN THOMAS,

               Defendant.

                               REPORT AND RECOMMENDATION

       THIS MATTER having been referred to the undersigned United States Magistrate Judge

by the Honorable William Johnson, and the undersigned having personally met and conferred in

camera with Douglas E. Couleur, attorney for Defendant Marvin Thomas, and as a result of this

conference with Mr. Couleur, concludes that Mr. Couleur has a professional conflict of interest

which supports his application for permission to withdraw as counsel of record for Mr. Thomas.

The undersigned conducted this in camera conference with Mr. Couleur with the express and prior

understanding that the exact nature of the conflict of interest will remain in confidence, however, it

is respectfully reported to the Court that Mr. Couleur has a conflict of competing interests between

clients and it is reasonable and ethically appropriate for Mr. Couleur to be allowed to withdraw as

counsel of record for Mr. Thomas.

       IT IS THEREFORE reported to the Court that the in camera conference between the

undersigned and Mr. Couleur occurred on December 17, 2003, at 10:00 a.m. and it is further

recommended that Mr. Couleur’s application for permission to withdraw as counsel of record for

Defendant Thomas be immediately granted and substitute counsel appointed.



                                              ________________________________________
                                              ROBERT HAYES SCOTT
                                              UNITED STATES MAGISTRATE JUDGE
